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 13
 14                         UNITED STATES DISTRICT COURT

 15                       CENTRAL DISTRICT OF CALIFORNIA

 16    ENTTECH MEDIA GROUP LLC,               Case No.: 2:20-cv-06298 JWH (Ex)
                                              Hon. John W. Holcomb
 17                  Plaintiff,
             v.                               BACKGRID USA, INC.’S
 18
                                              OPPOSITION TO PLAINTIFF’S
 19    OKULARITY, INC.; JON NICOLINI;         MOTION FOR JUDGMENT ON THE
       BACKGRID USA, INC.; SPLASH             PLEADINGS
 20    NEWS AND PICTURE AGENCY,
 21    LLC; AND XPOSURE PHOTO
       AGENCY, INC.                           Complaint Filed: July 15, 2020
 22
                     Defendants.
 23
 24
 25
 26
 27
 28

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  1   I.    INTRODUCTION
  2         Plaintiff and Cross-Defendant ENTtech is a serial and repeat infringer of
  3   Defendants and Cross-Complainants Backgrid USA, Inc. (“Backgrid”), Splash News
  4   and Picture Agency LLC (“Splash”), and Xposure Photo Agency, Inc.’s (“Xposure”)
  5   (collectively the “Photo Agencies”) valuable celebrity photographs. ENTtech has
  6   demonstrated a pattern of infringing the Photo Agencies’ celebrity photographs on
  7   its website, its Twitter account, and its Instagram account.
  8         Cross-defendant’s motion for judgment on the pleadings, along with the
  9   motions filed concurrently against Xposure and Splash, presents a smorgasbord of
 10   unsupported legal theories and factual assumptions that cannot be the basis for
 11   dismissal. Here, ENTtech challenges whether Backgrid alleged copyright
 12   infringement because ENTtech contends chain of title must be pleaded, when case
 13   law says the opposite, and argues that Rule 9 applies to pleading copyright claims,
 14   when it does not. ENTtech also requests dismissal because it claims Backgrid has
 15   “unclean hands” for asking Instagram to comply with the DMCA. Requesting
 16   compliance with the law can never be the basis for unclean hands, a doctrine rarely
 17   adopted by courts. It then argues that Backgrid should not be entitled to an
 18   injunction while conflating the standard for entering a permanent injunction with the
 19   standard for pleading a claim for relief. As with the motions against Splash and
 20   Xposure, ENTtech incorrectly asserts that the declaratory relief claim is duplicative
 21   of Backgrid’s copyright infringement claim (it is not), and that misrepresentation
 22   under the DMCA must conform to Rule 9 pleading requirements even though this
 23   Court has held otherwise.
 24         Backgrid respectfully requests that this motion be denied.
 25   II.   STATEMENT OF FACTS
 26         Backgrid, Splash, and Xposure are Hollywood’s largest celebrity-photograph
 27   agencies that regularly license celebrity-driven content to top-tier outlets, such as
 28   TMZ, Entertainment Tonight, the New York Post, People Magazine, the Huffington
                                                  1
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  1   Post, the Daily Mail, as well as many television stations, newspapers and prominent
  2   media outlets throughout the world. (Dkt. 53, ¶ 9.) Each license is granted for
  3   valuable consideration of up to hundreds of thousands of dollars. Id.
  4          Counter-defendant EntTech touts itself as an “entertainment technology
  5   ecosystem that leverages creative content, social amplification and proprietary data
  6   to deliver shareable entertainment to a diverse group of audiences.” (Dkt. 53, ¶ 12.)
  7   Among its properties is Paper Magazine, a fashion- and celebrity-driven magazine
  8   that, on information and belief, makes huge profits showcasing celebrity content.
  9   On information and belief, EntTech uses and/or has used social media, such as
 10   Instagram and Twitter, to promote its magazine and engage with potential readers.
 11   Id.
 12          EntTech has reproduced, distributed, displayed, and created unauthorized
 13   derivative works of the timely registered Agency Photographs on its Social Media
 14   accounts and/or its Website without consent or license. (Dkt. 53, ¶ 14.) The Photo
 15   Agencies attached to their counterclaims screenshots of the infringements at issue
 16   and the copyright registrations for each. (See e.g. Dkt. 53, ¶ 11, 14, Dkt. 53-1- 53-
 17   12.)
 18          In addition to copyright infringement, the Photo Agencies also alleged that
 19   ENTtech submitted DMCA counternotifications that misrepresented under penalty
 20   of perjury that the Photo Agencies’ notices were sent as a result of a “mistake or
 21   misidentification.” Those notifications were also attached to the counterclaim. (Dkt.
 22   53-13.)
 23   III.   LEGAL STANDARD
 24          Judgment on the pleadings “is proper only when there is no unresolved issue
 25   of fact, and no question remains that the moving party is entitled to a judgment as a
 26   matter of law.” Butler v. Resurgence Fin., LLC, 521 F. Supp. 2d 1093, 1095 (C.D.
 27   Cal. 2007) (citing Honey v. Distelrath, 195 F.3d 531, 532-33 (9th Cir. 1999)). When
 28   addressing a motion under Rule 12(c), “the allegations of the non-moving party must
                                                 2
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  1   be accepted as true, while the allegations of the moving party which have been
  2   denied are assumed to be false.” Hal Roach Studios, Inc. v. Richard Feiner & Co.,
  3   Inc., 896 F.2d 1542, 1550 (9th Cir. 1990). All allegations of fact by Backgrid must
  4   therefore be construed in the light most favorable to it. See Gen. Conference Corp.
  5   of Seventh-Day Adventists v. Seventh-Day Adventist Congregational Church, 887
  6   F.2d 228, 230 (9th Cir. 1989). “It must appear beyond doubt that the plaintiff can
  7   prove no set of facts in support of [its] claim which would entitle him to relief.” Sun
  8   Savings & Loan Ass'n v. Dierdorff, 825 F.2d 187, 191 (9th Cir. 1987).
  9   IV.   BACKGRID HAS SUFFICIENTLY ALLEGED ITS OWNERSHIP OF
 10         THE PHOTOGRAPHS INFRINGED BY ENTTECH
 11         A.     Backgrid Has Alleged that It Owns the Rights to the Photographs at
 12                Issue in Its Copyright Infringement Claim
 13         Backgrid has alleged that it owns “all rights, title and interest” to the works at
 14   issue. Backgrid attached copies of its copyright registrations of the works, even
 15   though doing so is not required to allege copyright infringement. Hybrid
 16   Promotions, LLC v. Zaslavsky, cv 16-02227-RAO, 2016 WL 10988656, *10 (C.D.
 17   Cal. 2016) (“While it may be helpful for claimants to identify by number their
 18   copyright registrations in their initial pleadings, and indeed necessary to do so at
 19   later stages in litigation, the failure to do so is not fatal at the FRCP 12(b)(6)
 20   stage.”); Mavrix, Inc. v. Love Tree Fashion, Inc., No. 2:13-cv-04565-ODW (JCGx),
 21   2013 WL 4763869, at *2 (C.D. Cal. Sept. 4, 2013). Moreover, the registration
 22   provides prima facie evidence of all facts stated in the certificate. 17 U.S.C. § 410(c)
 23   (“In any judicial proceedings the certificate of a registration made before or within
 24   five years after first publication of the work shall constitute prima facie evidence of
 25   the validity of the copyright and of the facts stated in the certificate.”)
 26         ENTtech’s contention that this motion should be granted because AKM-GSI
 27   Media, Inc. appears as the claimant on one of the registrations ignores Backgrid’s
 28   allegation that “Backgrid, or the previous owner of the works that later assigned all
                                                   3
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  1   rights, title and interest to those works to Backgrid filed for copyright registration.”
  2   The allegations, taken as true, amount to ownership. (Dkt. 53, ¶ 24.)
  3         In re Napster, Inc. Copyright Litigation, 191 F.Supp.2d 1087, 1101 (N.D. Cal.
  4   2002), cited by ENTtech, does not require otherwise. That case, even as explained
  5   by ENTtech, provides only that the copyright owner bears the burden of proof. The
  6   only other case cited by ENTtech is also inappropriate because it held that on a
  7   motion for summary judgment, the plaintiff needed to show proof of its ownership.
  8   Id.
  9         The issue on this motion is whether Backgrid adequately pleaded ownership.
 10   ENTtech’s contention that Backgrid must plead chain of title is not supported by
 11   case law. “Courts have held that ‘[t]o the extent defendants argue that plaintiff failed
 12   to allege an unbroken chain of title to the rights at issue, it is unnecessary for the
 13   complaint to include such detailed factual recitation.’” Payne v. Manilow, CV-18-
 14   3413 PSG (PLAx), 2018 WL 6321638, at *6 (C.D. Cal. Oct. 29, 2018) (citing Gym
 15   Door Repairs, Inc. v. Young Equip. Sales, Inc., 206 F. Supp. 3d 869, 894 (S.D.N.Y.
 16   Sept. 12, 2016); U2 Home Entm't, Inc. v. Kylin TV, Inc., 20007 WL 2028108, at *7
 17   (E.D.N.Y. July 11, 2007)); Nirvana, LLC v. Mark Jacobs Intern, LLC, cv-18-10743
 18   JAK (SKx), 2019 WL 7817082 at *6 (C.D. Cal. Nov. 8, 2019) (“That the Complaint
 19   does not specifically allege the process by which any such ‘work for hire’ or similar
 20   arrangement resulted in ownership by Nirvana, Inc. is not a ‘fatal’ ‘omission[ ].’”
 21   Dkt. 26 at 18. The adequacy of Nirvana’s ‘chain of title’ is instead an issue to which
 22   Defendants may respond on its merits through discovery and subsequent
 23   proceedings.”); 5 Wright & Miller, Federal Practice & Procedure § 1237 (3d
 24   ed.) (“Complaints [for copyright infringement] simply alleging present ownership by
 25   the plaintiff, registration in compliance with the applicable statute, and infringement
 26   by the defendant, have been held sufficient under the rules.”).
 27   ///
 28   ///
                                                   4
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  1            B.    Backgrid’s Claims Should Not be Dismissed Because It Attached
  2                  True and Accurate Screenshots of the Infringements
  3            ENTtech complains that screenshots of its infringements at times contain
  4   additional infringements of works belonging to third parties. If the motion is granted
  5   on this basis, Backgrid will be punished for attaching true and accurate screenshots
  6   to its complaint, which, of course, is preposterous. ENTtech has copies of the
  7   registrations at issue and is therefore on notice as to the subject matter of the
  8   photographs it infringed. (See Exhibit B-1 showing no references to the Queen of
  9   England.) Even if ENTtech had brought a Rule 12(e) motion, such motion should be
 10   denied because ENTtech could have found answers to its purported questions
 11   through discovery. Beery v. Hitachi Home Electronics (America), Inc., 157 F.R.D.
 12   477, 480 (“If the detail sought by a motion for more definite statement is obtainable
 13   through discovery, the motion should be denied.”).
 14   V.       BACKGRID HAS SUFFICIENTLY ALLEGED ENTTECH’S
 15            INFRINGEMENT OF BACKGRID’S PHOTOGRAPHS
 16            A.    Backgrid Sufficiently Alleges “How” ENTtech Infringed Its
 17                  Photographs
 18            “Anyone who violates any of the exclusive rights of the copyright owner as
 19   provided by section[] 106 [] is an infringer of the copyright [].” 17 U.S.C. § 501(a).
 20   A copyright owner holds the exclusive rights to reproduce the work, to prepare
 21   derivative works based on the copyrighted work, to distribute copies of the work, to
 22   publicly perform the work, and to publicly display the copyrighted work. 17 U.S.C.
 23   § 106.
 24            Backgrid has attached screenshots of ENTtech’s infringements and alleged
 25   that “EntTech has reproduced, displayed, and created unauthorized derivative works
 26   of the timely registered [photos] on its Social Media accounts and/or its Website
 27   without consent or license.” See e.g. Dkt. 53, ¶14. That is sufficient to put ENTtech
 28   on notice of how it violated Backgrid’s exclusive rights under Section 106. Each
                                                  5
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   1   screenshot evidences, at a minimum, a reproduction, distribution, and public display
   2   of Backgrid’s works. In many instances ENTtech has also created unauthorized
   3   derivative works.
   4         ENTtech’s contention that Backgrid has not identified the location of the
   5   infringement is also unfounded. Backgrid’s screenshots include a url to the online
   6   location of the infringing work giving ENTtech specific information as to where the
   7   infringement appeared. Backgrid thus provided more information than is necessary
   8   because there is no requirement that copies of the infringement be attached to the
   9   complaint. See 1-12 Nimmer on Copyright § 12.09[B] (2014)
  10   (“In a statutory infringement action, it is no longer necessary that either a copy
  11   of the work allegedly infringed, or a copy of the allegedly infringing work,
  12   accompany the complaint.”); Chihuly, Inc. v. Kaindl, 2006 U.S. Dist. LEXIS 2420,
  13   at *7 (W.D. Wash. Jan. 11, 2006) (“Plaintiffs are not required to attach copies of the
  14   allegedly infringed and infringing works.”).
  15         B.     Without Any Legal Support, ENTtech Argues that Copyright
  16                Infringement Requires a Heightened Pleading Standard
  17         ENTtech argues that to plead copyright infringement, Backgrid must allege
  18   “how or where the screenshots were obtained by Backgrid, when the screenshots
  19   were obtained, or how or why the image was infringed.” Dkt. 89 at 5:21-25. Further,
  20   ENTtech claims “Backgrid must allege the very basics as to the specific registration
  21   for each image [] including the chain of title [], the date and location where
  22   infringement allegedly occurred, and the dates of publication and discovery of the
  23   alleged infringement.” Id. at 6:23-26. ENTtech cannot cite to any legal authority for
  24   these novel requirements to plead copyright infringement. All that is required to
  25   plead copyright infringement is ownership and infringement, which has been alleged
  26   as discussed, supra. A & M Records. Inc. v. Napster. Inc., 239 F.3d 1004, 1013 (9th
  27   Cir. 2001) (“Plaintiffs must satisfy two requirements to present a prima facie case of
  28   direct [copyright] infringement: (1) they must show ownership of the
                                                   6
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   1   allegedly infringed material and (2) they must demonstrate that the
   2   alleged infringers violate at least one exclusive right granted to copyright holders
   3   under 17 U.S.C. § 106.”). And, as discussed supra, registration need only be alleged.
   4   There is no requirement that it even be included by registration number or by
   5   attachment.
   6   VI.   BACKGRID’S CLAIM IS NOT PRECLUDED BY THE DOCTRINE OF
   7         UNCLEAN HANDS
   8         “To establish unclean hands, a defendant must demonstrate (1) inequitable
   9   conduct by the plaintiff; (2) that the plaintiff's conduct directly relates to the claim
  10   which it has asserted against the defendant; and (3) plaintiff's conduct injured the
  11   defendant.” Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d
  12   1197, 1223 (C.D. Cal. 2007) (quoting Survivor Productions LLC v. Fox Broad. Co.,
  13   No. CV01-3234 LGB (SHX), 2001 WL 35829270, at *3 (C.D. Cal. June 12, 2001) )
  14   (citing Fuddruckers, Inc. v. Doc's B.R. Others, Inc., 826 F.2d 837, 847 (9th Cir.
  15   1987) ). “The application of the unclean hands doctrine is generally a fact intensive
  16   inquiry,” Morfin-Arias v. Knowles, No. 16-CV-06114-BLF, 2018 WL 1710369, at
  17   *8 (N.D. Cal. Apr. 9, 2018), and the “defense is recognized only rarely.” 4 Nimmer
  18   on Copyright § 13.09 (2018) (citing Dream Games of Ariz., Inc. v. PC Onsite, 561
  19   F.3d 983, 990 (9th Cir. 2009); L.A. News Serv. v. Tullo, 973 F.2d 791, 799 (9th Cir.
  20   1992) ). “[A] defense of unclean hands may be asserted in a copyright infringement
  21   action only where the defendant can show that he has personally been injured by the
  22   plaintiff's conduct.” Broderbund Software, Inc. v. Unison World, 648 F.Supp. 1127
  23   (N.D.Cal.1986) (citing Mitchell Brothers Film Group v. Cinema Adult Theater, 604
  24   F.2d 852, 863 (5th Cir.1979)).
  25         ENTtech contends that Backgrid engaged in inequitable conduct because its
  26   copyright agent reminded Instagram that it has an obligation to terminate repeat
  27   infringers should it wish to rely on a Digital Millennium Copyright Act (“DMCA”)
  28   safe harbor defense. Section 512 provides internet service providers (“ISPs”) a safe
                                                    7
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   1   harbor from infringement claims if, and only if, those ISPs comply with certain
   2   requirements. One of those requirements, codified under Section 512(i), requires that
   3   ISPs adopt and implement a reasonable repeat infringer policy, pursuant to which
   4   repeat infringers are terminated or suspended by the ISP after receiving a threshold
   5   number of DMCA notices.1 Here, Okularity, Backgrid’s agent, simply reminded
   6   Instagram that it had received a certain number of notices relating to the Paper
   7   Magazine account, thus triggering the suspension requirement. Asking Instagram to
   8   follow the law is not inequitable conduct. Even assuming arguendo that asking
   9   Instagram to comply with the DMCA could amount to inequitable conduct, there is
  10   no causation between Backgrid or Okularity’s request and any harm. Instagram was
  11   required to take down ENTtech’s account to comply with the DMCA regardless of
  12   any complaint. It therefore cannot be assumed that the account was taken down
  13   because of the DMCA notice.
  14   VII. BACKGRID HAS ADEQUATELY ALLEGED THAT IT IS ENTITLED
  15         TO AN INJUNCTION
  16         ENTtech has confused two standards: the standard for pleading entitlement to
  17   a permanent injunction with the standard for entering a permanent injunction.
  18   ENTtech cites to Brighton Collectibles, Inc. v. Pedre Watch Co., Inc., No. 11-cv-
  19   00673 AJB, 2013 WL 5719071, at *4 (S.D. Cal. Oct. 21, 2013) in which, the court
  20   refused to issue a permanent injunction because the request was based only on
  21   conclusory allegations of irreparable harm. It did not involve a motion to dismiss or
  22   a motion for judgment on the pleadings. Similarly, Greg Young Publishing Inc. v.
  23   Zazzle, Inc., No., 2:16-cv-04587 SVW (KSx) 2020 WL 3871451 (C.D. Cal., July 9,
  24   2020), concerned a motion to enter a permanent injunction (and is currently pending
  25   appeal).
  26
  27
       1
         What constitutes a “reasonable” repeat infringer policy and how many strikes an
  28   infringer must receive to be considered a “repeat infringer” are not defined by statute.
                                                  8
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   1          A determination of whether Backgrid is entitled to injunctive relief at the
   2   pleading stage is not appropriate. See Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d
   3   970, 975, fn. 2 (9th Cir. 2010) (finding a determination as to whether certain damages
   4   were barred by contract as a factual inquiry not appropriate for the pleading stage of
   5   litigation).
   6          Even so, ENTtech’s assumption that merely because an Instagram account is
   7   taken down there is no continuing harm to Backgrid is wrong. As shown in Exhibit
   8   B-1 and B-4 of docket 53, ENTtech infringed Backgrid’s copyrights on its Twitter
   9   account, on its Paper Magazine website, and on its Instagram account; ENTtech has
  10   multiple online properties capable of infringing Backgrid’s works.
  11          Even though ENTtech would like to point its finger at the victim, Backgrid’s
  12   litigation history is irrelevant. The stipulation in Backgrid USA, Inc. v. Sessoms,
  13   2:19-cv-03540-AB-MRW, concerned breach of a settlement agreement. ENTtech
  14   should not have any information regarding that confidential settlement agreement.
  15   And the circumstances of that case have no bearing on whether irreparable damage
  16   may be caused by ENTtech.
  17   VIII. THE DECLARATORY RELIEF CLAIM IS NOT DUPLICATIVE OF
  18          THE COPYRIGHT INFRINGEMENT CLAIM
  19          ENTtech falsely contends that Backgrid’s claim for declaratory relief seeks
  20   the same relief as its claim for copyright infringement. (Dkt. 89, 11:11-12.) Backgrid
  21   seeks a declaration that “EntTech knowingly and materially misrepresented that the
  22   Agency Photographs which it had caused to be uploaded to the Instagram Account
  23   were taken down as a result of mistake or misidentification” and, as such, Backgrid
  24   is entitled to injunctive relief and damages for these misrepresentations. The
  25   injunctive relief requested is thus directed to ENTtech’s misrepresentations in its
  26   DMCA counternotifications, not to copyright infringement. As such, the declaratory
  27   relief does not seek the same relief as the claim for copyright infringement and
  28   should not be dismissed.
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   1   IX.   BACKGRID HAS ADEQUATELY ALLEGED MISREPRESENTATION
   2         UNDER 17 U.S.C. § 512(F)
   3         ENTtech’s sole basis for seeking dismissal of Backgrid’s misrepresentation
   4   claim is that it does not satisfy the heightened pleading standard of Rule 9, but the
   5   Court has already held that a heightened standard is not required for a section
   6   512(f) claim. (Dkt. 91 at 11, fn. 43.)
   7         Even if the heightened standard applied, which it does not, the offending
   8   counternotifications were attached to the counterclaims. (Dkt. 53-13.) Each
   9   notification shows that Mr. Tauler (the “who”), falsely declared under penalty of
  10   perjury that Backgrid’s takedown notification was a result of a “mistake or
  11   misidentification” (the “what”), online, i.e. through electronic message to Instagram
  12   (the “where”), and each message that gave notice to Okularity of ENTtech’s
  13   counternotification is timestamped (the “when”). Therefore, Backgrid has alleged
  14   more than what is required to support a DMCA claim for misrepresentation.
  15         The misrepresentation under 512(f) claim should not be dismissed.
  16   X.    ENTTECH DID NOT ADEQUATELY MEET AND CONFER
  17         During the conference of counsel, ENTtech raised unclean hands, a theory
  18   that Backgrid should not receive injunctive relief, and a theory that the declaratory
  19   relief claim should be dismissed. (Ardalan Decl., ¶ 2.) ENTtech did not raise
  20   numerous issues that were included in the motions against the Photo Agencies.
  21   ENTtech never met and conferred regarding its standing and judicial estoppel
  22   arguments with respect to Splash’s motion, it never conferred about its argument
  23   that infringement and ownership were not sufficiently pleaded (ENTtech raised a
  24   different legal argument relating to ownership that it was persuaded by the Photo
  25   Agencies to drop), it never conferred about a heightened pleading standard applying
  26   to the DMCA misrepresentation claim, and that statutory damages did not apply to
  27   certain photographs, ignoring that Xposure never claimed they were timely
  28   registered and did not include them in the copyright infringement claim. Had
                                                  10
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   1   ENTtech raised these issues during our conference of counsel, the Photo Agencies
   2   would have provided ENTtech case law that ought to have persuaded it to avoid this
   3   motion. Id.
   4   XI.   CONCLUSION
   5         Backgrid respectfully requests that the Court deny this motion in full. Should
   6   the Court grant any part of this motion, Backgrid requests that it be given leave to
   7   amend.
   8
   9   Dated: March 19, 2021                  ONE LLP
  10                                          By: /s/ Joanna Ardalan
                                                  Joanna Ardalan
  11
                                                  Peter R. Afrasiabi
  12                                              David W. Quinto
  13
                                                   Attorneys for Defendants and
  14                                               Counterclaimants
  15
                                                   Backgrid USA, Inc.; Splash News and
  16                                               Picture Agency, LLC, Xposure Photo
                                                   Agency, Inc.
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             BACKGRID’S OPPOSITION TO MOTION FOR JUDGMENT ON THE PLEADINGS
